     Case: 1:17-md-02804-DAP Doc #: 4385 Filed: 04/25/22 1 of 14. PageID #: 577295




                           UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

IN RE: NATIONAL PRESCRIPTION
OPIATE LITIGATION

This document relates to:

         County of Lake, Ohio v. Purdue
         Pharma L.P., et al.,                          MDL No. 2804
           Case No. 18-op-45032 (N.D. Ohio)            Case No. 17-md-2804
                                                       Judge Dan Aaron Polster
         County of Trumbull, Ohio v. Purdue
          Pharma, L.P., et al.,
           Case No. 18-op-45079 (N.D. Ohio)

 “Track 3 Cases”


                              WALGREENS AND WALMART
                         JOINT ABATEMENT PHASE TRIAL BRIEF

          Walgreens and Walmart submit this trial brief pursuant to the Court’s Trial Order, Doc.

 4322 at 5, to summarize key facts and controlling law as well as some of the most important

 evidentiary issues that may arise during trial.1

                                         Statement of Facts

          This proceeding concerns the abatement of the public nuisance as found by the jury: the

 “oversupply of legal prescription opioids, and diversion of those opioids into the illicit market

 outside of appropriate medical channels.” See Dkt. 4176 (verdict form). Plaintiffs’ abatement

 plan is not tailored to the abatement of that condition. Instead, they have proposed a far-reaching

 plan focusing almost exclusively on claimed health, societal, and other downstream effects of

 opioid abuse (for example, vocational training for individuals living with opioid use disorder



 1
     References to “Defendants” herein include only Walgreens and Walmart.
    Case: 1:17-md-02804-DAP Doc #: 4385 Filed: 04/25/22 2 of 14. PageID #: 577296




(“OUD”), programs to address burnout/compassion fatigue in first responders, and

screening/treatment of HIV, hepatitis C, and endocarditis).2 Plaintiffs do not even attempt to

explain how these programs and services will abate the oversupply and diversion of prescription

opioids.

         Even if it were designed to abate the nuisance found by the jury—which it is not—

Plaintiffs’ plan still would be fatally flawed because Plaintiffs overestimate its costs. For example,

Plaintiffs’ estimate of the cost for the first five years of their plan—$878 million—includes the

costs of existing programs that already are funded, often by the state or federal governments or

other third parties; costs related exclusively to harms caused by illicit, as opposed to prescription,

opioids; costs based on inflated estimates of the number of people with OUD and similar issues;

costs that exceed what the Counties have historically paid or currently pay for the same or similar

programs and services; and costs that reflect mathematical errors by Plaintiffs’ experts. Correcting

these overstatements, Defendants’ experts Dr. Daniel Kessler and Mr. Matthew Bialecki arrive at

far lower estimates of the cost for the first five years of Plaintiffs’ abatement plan: Dr. Kessler

estimates the actual cost to be $346 million, while Mr. Bialecki places the cost at under $35 million

based on his analysis of Plaintiffs’ current funding of such programs. Of particular note, Mr.

Bialecki is the only expert to have considered what the Counties have actually paid for the services

and programs called for by Plaintiffs’ plan. By contrast, none of Plaintiffs’ experts ever spoke

with any County officials or reviewed any County records to determine the actual need for or cost

to the Counties for the services and programs set out in Plaintiffs’ plan.



2
 Defendants continue to object to Plaintiffs’ plan for all the reasons set forth in Defendants’ Joint
Brief Regarding Select Legal Issues for Remedies Phase, Track 3 Defendants’ Joint Submission
Concerning Plaintiffs’ Abatement Plan, and Track 3 Defendants’ Abatement Plan. See Dkt. 4299,
4315, 4337. This includes the objection that Plaintiffs’ plan is vague and indeterminate.

                                                  2
 Case: 1:17-md-02804-DAP Doc #: 4385 Filed: 04/25/22 3 of 14. PageID #: 577297




       Finally, regardless of the accuracy of Plaintiffs’ cost estimate, any cost awarded should be

reduced to apportion to each Defendant only its share of the total cost, rather than forcing

Defendants to pay for costs attributable to other responsible parties. To that end, Defendants’

experts Dr. Kessler, Dr. Joseph Doyle, Mr. Robert Brunner, and Dr. Amitabh Chandra provide

different approaches to apportion any award to Plaintiffs so as to (1) exclude claimed costs

attributable to illicit opioids; (2) exclude claimed costs attributable to non-Defendant actors who

contributed to the nuisance the jury found; and (3) apportion claimed costs to each Defendant

based on its market share of opioid prescriptions dispensed in the Counties. Defendants’ experts

estimate the appropriate share of contribution to the nuisance the jury found in ranges of 0.445%

to 2.8% for CVS, 0.693% to 2.8% for Walgreens, and 0.176% to 1.0% for Walmart in Lake County

and 0.308% to 0.7% for CVS, 0.832% to 2.5% for Walgreens, and 0.031% to 0.2% for Walmart

in Trumbull County. These findings are consistent with the small percentage of total opioid

prescriptions dispensed in the Counties that were filled by a Defendant and flagged by Plaintiffs.

                                        Controlling Law

       Because Defendants already addressed the proper nature and scope of the abatement

remedy in their joint briefing regarding select legal issues for the remedies phase, Defendants

provide only a brief summary here. See generally Dkts. 4299, 4342. “An equitable remedy’s sole

purpose is to eliminate the hazard that is causing prospective harm to the plaintiff.” People v.

ConAgra Grocery Prod. Co., 17 Cal. App. 5th 51, 132, 227 Cal. Rptr. 3d 499, 569 (2017). Thus,

an award to address the health, societal, and other indirect, downstream effects of a nuisance (as

opposed to the nuisance itself) is a damages award, not abatement. An abatement plan must be

limited both to the specific nuisance that the jury found (the oversupply and diversion of

prescription opioids in the two Plaintiff counties) and to the portion of that nuisance reasonably



                                                3
    Case: 1:17-md-02804-DAP Doc #: 4385 Filed: 04/25/22 4 of 14. PageID #: 577298




attributable to each Defendant’s conduct (dispensing). As Defendants already have argued,

Plaintiffs’ plan meets none of these standards.

         For those narrow categories of relief contained in Plaintiffs’ plan that constitute abatement

of the nuisance the jury found, Plaintiffs must prove the calculation of the costs of such forward-

looking relief in a non-speculative manner. That becomes increasingly more difficult as the

temporal scope of the requested relief expands. The only court to date to have awarded an

abatement remedy in a prescription opioids case limited that remedy to one year, rejecting

plaintiffs’ 20-year abatement plan because the State “did not present sufficient evidence of the

amount of time and costs necessary, beyond year one, to abate the Opioid Crisis.” See State of

Oklahoma v. Purdue Pharma L.P., No. CJ Case 2017-816, 2019 WL 9241510, at *15 (Okla. Dist.

Ct. Nov. 15, 2019), rev’d on other grounds by State ex rel. Hunter v. Johnson & Johnson, 2021

OK 54, 499 P.3d (Okla. 2021).3

         This accords with the general rule under tort law that a party seeking compensatory

damages must prove (1) certainty that damages will occur; and (2) reasonable certainty as to the

amount of those damages. Restatement (Second) of Torts § 912 (1979) (“One to whom another

has tortiously caused harm is entitled to compensatory damages for the harm if, but only if, he

establishes by proof the extent of the harm and the amount of money representing adequate

compensation with as much certainty as the nature of the tort and the circumstances permit.”);

Galayda v. Lake Hosp. Sys., Inc., 1994-Ohio-64, 71 Ohio St. 3d 421, 425, 644 N.E.2d 298, 301

(“In Ohio, a plaintiff is entitled to an award of damages to compensate him for losses which he is

reasonably certain to incur in the future.”). The same principle is true under contract law. See


3
  The Supreme Court of Oklahoma later held that the State’s public nuisance claim was not
cognizable because Oklahoma nuisance law is properly addressed to “discrete, localized problems,
not policy problems.” Hunter, 2021 OK 54, ¶ 39, 499 P.3d at 731.

                                                  4
 Case: 1:17-md-02804-DAP Doc #: 4385 Filed: 04/25/22 5 of 14. PageID #: 577299




Restatement (Second) of Contracts § 352 (1981) (“Damages are not recoverable for loss beyond

an amount that the evidence permits to be established with reasonable certainty.”); Palmer v.

Connecticut Ry. & Lighting Co., 311 U.S. 544, 559 (1941) (limiting damages for breach of lease

to eight years, noting that future damages must be limited to “as far as reasonable, intelligent men

can foresee the future”); Cleveland Builders Supply Co. v. Farmers Ins. Grp. of Cos., 102 Ohio

App. 3d 708, 716, 657 N.E.2d 851, 855 (1995) (rejecting contract damages under Ohio law as

“speculative and uncertain”). These same principles apply to the abatement remedy.

        Plaintiffs have stated that they intend initially to seek funds for the first five years of their

plan at the upcoming trial. See Dkt. 4232 at 2. Even when limited in this way, their plan violates

the principle that the harm to be abated cannot be speculative. If the Court orders abatement relief

during Phase II of trial, the award should be limited to one year. The nuisance the jury found is

the current oversupply of prescription opioid medications, and one year provides a sufficient

period for expanded takeback and disposal programs to abate that oversupply.                  Plaintiffs’

additional assertion that the abatement may run an additional 10 years, apparently depending on

the relative success of the initial five years, is all the more speculative.

        If the Court awards additional interventions beyond drug take-back programs, those should

be limited to one year as well. Projecting the elements and costs of the sort of treatment programs

and other interventions Plaintiffs seek becomes more unreliable for each additional year into the

future. See, e.g., Trial Tr. (Dkt. 4050) at 2762, 2764, 2765 (Plaintiffs’ witness Captain Villanueva

testifying that “drug trends will change on a weekly basis”).            Forward-looking projections

necessarily speculate about whether, among other things: (i) addiction and its related expenses in

the future will stem in any way from diversion of an “oversupply” of prescription opioids; (ii)

addiction patterns in the community will remain the same; (iii) prescription opioids will remain a



                                                   5
 Case: 1:17-md-02804-DAP Doc #: 4385 Filed: 04/25/22 6 of 14. PageID #: 577300




drug of choice; (iv) recovery rates will hold constant; (v) treatment will be the same; (vi) the

number of individuals with OUD that may seek treatment under Plaintiffs’ abatement plan will

remain constant; (vii) the use of safe storage and drug disposal of unused medication will reduce

opioid overdose or other opioid-related harm; and (viii) persons with OUD will actually use

available treatment and mental health services. Any period beyond one year would be speculative

and would result in program elements and funding that would be even more disconnected from the

nuisance the jury found.

       To the extent that the Court awards future relief, it should mitigate speculation about future

costs by requiring a mechanism to ensure that the funds are spent to abate the nuisance the jury

found, as well as on expenses that are actually incurred and that align with the Court-approved

abatement plan. In Liddell v. Board of Education of City of St. Louis, 771 F. Supp. 1496, 1498

(E.D. Mo. 1991), the court reviewed the City Board’s asbestos abatement program, funded by the

state and governed by the federal Asbestos Hazard Emergency Response Act and implementing

regulations. The court rejected an open-ended quarterly payment schedule for projected costs as

they accrued, because the proposed schedule “prevent[ed] review by the State as to accuracy and

reasonableness of the costs and [was] open to abuse.” Id. at 1502. Instead, the court stated that a

“checks and balance” system should “be worked out amicably between the City Board and the

State, with assistance from the Financial Advisor.” Id. The court ordered that a “payment method

must be developed which affords the State the opportunity to review the costs while allowing the

City Board to continue the prompt implementation of its asbestos abatement program.” Id.

       The same is true here. If it does so at all, the Court should award future abatement costs in

a form that allows Defendants to audit the expenditures against an approved abatement plan

outlining which expenditures are permissible. Payments to the fund should be staggered, and if



                                                 6
 Case: 1:17-md-02804-DAP Doc #: 4385 Filed: 04/25/22 7 of 14. PageID #: 577301




Plaintiffs cannot spend the funds provided in the first waves for legitimate abatement expenses,

Defendants should not be required to pay any additional sums into the fund. Funds should revert

to Defendants if not spent in accordance with the abatement plan. Such a system will root out

waste and abuse.

       Finally, the Court has indicated an intent to order injunctive relief. In that regard,

Defendants note that, despite multiple opportunities to offer an abatement plan, Plaintiffs have

never sought—and indeed still do not seek—injunctive relief. In that context, awarding injunctive

relief would be highly inappropriate. See United States v. Sineng-Smith, 140 S. Ct. 1575, 1578

(2020) (under principle of party presentation, the court must decide case as “shaped by the

parties”). Thus, the only injunctive relief that is even arguably appropriate is the operation of drug

take-back programs, to which Defendants have alluded.

       Moreover, “courts generally grant relief in a party-specific and injury-focused manner,”

Arizona v. Biden, No. 22-3272, 2022 WL 1090176, at *10–*12 (6th Cir. Apr. 12, 2022) (Sutton,

C.J., concurring), and “the scope of injunctive relief is dictated by the extent of the violation

established,” Califano v. Yamasaki, 442 U.S. 682, 702 (1979). Because Plaintiffs have established

a public nuisance only in Lake and Trumbull Counties, and only under Ohio law, this case provides

no basis for injunctive relief, if any, beyond those two Counties. See Mitchell v. Abercrombie &

Fitch, No. C2-04-306, 2005 WL 1159412, at *2 (S.D. Ohio May 17, 2005) (“A state’s laws are

presumptively territorial and confined to limits over which the law-making power has

jurisdiction.” (quoting Sandberg v. McDonald, 248 U.S. 185, 195 (1918))).

                                      Key Evidentiary Issues

       Defendants anticipate two key evidentiary issues: (1) determining which side has the

burden to prove apportionment and (2) whether the Court will permit Plaintiffs to support their

main contentions with hearsay.
                                                  7
    Case: 1:17-md-02804-DAP Doc #: 4385 Filed: 04/25/22 8 of 14. PageID #: 577302




          The parties already have briefed the issue of which side has the burden to prove

apportionment. See generally Dkts. 4299, 4342. Plaintiffs try to put the burden on Defendants—

who constitute a tiny fraction of all entities whom Plaintiffs themselves allege caused the nuisance

found by the jury—to prove that they do not owe the entire amount Plaintiffs say is necessary to

abate that nuisance. For the reasons already explained, see, e.g., Dkt. 4342 at 15–19, this

unsupported approach is out of step with the Restatement and Ohio law and would violate

Defendants’ right to due process.

          Other than that already-briefed issue, Defendants believe that most of the evidentiary

concerns during the abatement phase will revolve around whether portions of Plaintiffs’ proof are

inadmissible hearsay, and thus fail to meet Plaintiffs’ burden to support their request for abatement

relief.

          As an initial matter, the Federal Rules of Evidence apply to this phase of the case, even

though it is a bench trial in what the court has deemed an equitable proceeding. See Fed. R. Evid.

1101(a), (b); see, e.g., UGI Sunbury LLC v. A Permanent Easement for 1.7575 Acres, 949 F.3d

825, 832 (3d Cir. 2020) (“Rule 702 applies whether the trier of fact is a judge or a jury.”).4 Under

those Rules, hearsay without an exception is inadmissible. Fed. R. Evid. 802. Yet Defendants

expect that Plaintiffs will try to use hearsay in several ways prohibited by the Rules.

          First, the Court should not permit Plaintiffs to introduce their expert reports wholesale into

evidence. Expert reports prepared in anticipation of trial are generally not admissible evidence at

trial because they are considered hearsay. See Engebretsen v. Fairchild Aircraft Corp., 21 F.3d

721, 729 (6th Cir. 1994). “Rules 702 and 703 carve out a narrow exception to the rule against the



4
  Defendants maintain their objection that the Seventh Amendment requires a jury, not a judge,
to determine the facts relating to the relief Plaintiffs seek. See Dkt. 4299 at 24–27.

                                                    8
 Case: 1:17-md-02804-DAP Doc #: 4385 Filed: 04/25/22 9 of 14. PageID #: 577303




admission of hearsay” to allow experts to “testify as to their opinion, and rely on inadmissible

evidence” in forming those expert opinions. Id. (emphasis in original) But “[n]either their written

opinions nor the materials on which they relied upon [are] admissible under Rules 702 and 703.”

Id. Thus, Plaintiffs must rely exclusively upon the trial testimony of their experts; they cannot

introduce the reports of even testifying experts into evidence. See id. (district court’s “conclusion

that Rules 702 and 703 permit the admission of [testifying experts’ pre-trial reports] was

erroneous”).

       Relatedly, Plaintiffs likely will again try to use expert witnesses as channels to admit

hearsay. At the liability trial, this Court suggested that if documents were “shown to [an expert]

in preparation of her report,” she “can testify [about] whatever she was given.” Dkt. 4000 at 477–

78; see also, e.g., id. at 480–81 (“[S]he can testify about anything she was shown.”), 600 (“If this

is a document [the expert] reviewed,” she can read its contents aloud). Then, in its order denying

a new trial, the Court modified this suggestion to some degree by recognizing that the expert has

to in fact rely on the hearsay rather than simply review it. Dkt. 4296 at 28. Neither suggestion

adheres to the general rule that experts are precluded from disclosing inadmissible evidence in

their testimony. See Williams v. Illinois, 567 U.S. 50, 80–81 (2012).

       At the upcoming trial, Plaintiffs’ experts cannot simply repeat inadmissible hearsay.

Experts must convey “an independent judgment” about their opinions; any references to hearsay

must be in passing only—and must “only incidentally disclose[] the [hearsay] to assist the jury in

evaluating the expert’s opinion.” United States v. Rios, 830 F.3d 403, 418 (6th Cir. 2016). Experts

may not “simply parrot[] another individual’s out-of-court statement.” Id. It “falls to the [trial]

court to ensure that ‘the expert witness is truly testifying as an expert and not merely serving as a

conduit’” for hearsay. Saint-Gobain Autover USA, Inc. v. Xinyi Glass N. Am., Inc., No. 06-cv-



                                                 9
Case: 1:17-md-02804-DAP Doc #: 4385 Filed: 04/25/22 10 of 14. PageID #: 577304




2781, 2009 WL 10689369, at *2 n.1 (N.D. Ohio Oct. 23, 2009); 29 Fed. Prac. & Proc. Evid. §

6273 (2d ed.) (“Rule 703 does not authorize admitting hearsay on the pretense that it is the basis

for expert opinion when, in fact, the expert adds nothing to the out-of-court statements other than

transmitting them to the jury.”). To the extent that the expert must incidentally disclose hearsay,

such hearsay must be evidence “of a type reasonably relied upon by experts,” e.g., scientific

literature, and not communications created for the purpose of litigation or expert deliberation. See,

e.g., Gong v. Hirsch, 913 F.2d 1269, 1272–73 (7th Cir. 1990) (prohibiting medical expert from

testifying about a letter “made by a doctor who was not the treating physician . . . for the presumed

purpose of obtaining employment disability benefits” deemed inadmissible hearsay).

       Second, Defendants anticipate possible hearsay issues in connection with Plaintiffs’ two

fact witnesses, Kim Fraser and April Caraway. At the liability trial, Plaintiffs’ counsel argued that

a witness can testify about anything she is told while conducting an investigation. Dkt. 4050 at

2790–92. This Court agreed, reasoning that if someone has “investigated” something and talked

to witnesses, “[i]t isn’t just hearsay.” Id. at 2792. But a witness testifying about “what he’s been

told,” id., fits the very definition of hearsay. Without an exception, a statement that “(1) the

[witness] does not make while testifying at the current trial or hearing” and that is (2) “offer[ed]

in evidence to prove the truth of the matter asserted in the statement” is inadmissible. Fed. R.

Evid. 801. There is no “investigation” exception to hearsay. See, e.g., United States v. Arnold,

486 F.3d 177, 193 (6th Cir. 2007) (en banc) (refusing to allow an “investigator [to go] on the stand

to introduce statements” of witnesses); Sanders v. Dorris, 81 F.3d 161, at *2 (6th Cir. 1996) (table)

(refusing to allow a witness to “testif[y] as to her memory of a statement allegedly made by [a

witness]”); Miller v. Caterpillar Tractor Co., 697 F.2d 141, 144 (6th Cir. 1983) (refusing to admit




                                                 10
Case: 1:17-md-02804-DAP Doc #: 4385 Filed: 04/25/22 11 of 14. PageID #: 577305




investigator’s report because it relied on hearsay). If similar issues arise in the upcoming trial, this

Court must sustain Defendants’ hearsay objections.

       Third, Defendants anticipate other hearsay issues coming up at trial, especially as they

relate to the testimony of witnesses who collected historical expenditures from other government

officials. These historical expenditures are out-of-court statements that presumably will be offered

for their truth (for example, the amount of money Plaintiffs spent on a given thing). Plaintiffs

must, therefore, find a hearsay exception that would allow these statements to be admitted (for

example, the business-records exception). They cannot simply put on the stand a witness who said

that he or she talked to another person who reported what the numbers were, and then communicate

those out-of-court statements for their truth.

                                             Conclusion

       For these reasons, the Court should limit the remedy in this case, if any, to operating drug

take-back programs over the span of one year. If the Court nonetheless awards any additional

interventions beyond drug take-back programs, they also should be limited to one year.

Regardless, the Court should apportion any award of claimed future abatement costs to each

Defendant so that its share of the costs corresponds to its claimed contribution to the actual

nuisance the jury found, and the Court should structure the award in a way that allows Defendants

to audit the expenditures against an approved abatement plan outlining which expenditures are

permissible. In the course of determining appropriate relief, Plaintiffs should carry the burden of

apportionment. And the Court should prohibit the admission of hearsay through Plaintiffs’ witness

testimony.




                                                  11
Case: 1:17-md-02804-DAP Doc #: 4385 Filed: 04/25/22 12 of 14. PageID #: 577306




Dated: April 25, 2022              Respectfully submitted,

                                   /s/ John M. Majoras
                                   John M. Majoras
                                   Benjamin C. Mizer
                                   JONES DAY
                                   51 Louisiana Avenue, N.W.
                                   Washington, DC 20001
                                   Phone: (202) 879-3939
                                   Fax: (202) 626-1700
                                   E-mail: jmmajoras@jonesday.com
                                   E-mail: bmizer@jonesday.com

                                   Tina M. Tabacchi
                                   Tara A. Fumerton
                                   JONES DAY
                                   77 West Wacker
                                   Chicago, IL 60601
                                   Phone: (312) 269-4335
                                   Fax: (312) 782-8585
                                   E-mail: tmtabacchi@jonesday.com
                                   E-mail: tfumerton@jonesday.com

                                   Counsel for Walmart Inc.




                                     12
Case: 1:17-md-02804-DAP Doc #: 4385 Filed: 04/25/22 13 of 14. PageID #: 577307




                                   /s/ Jeffrey A. Hall
                                   Kaspar J. Stoffelmayr
                                   Jeffrey A. Hall
                                   BARTLIT BECK LLP
                                   54 West Hubbard Street
                                   Chicago, IL 60654
                                   Tel: (312) 494-4400
                                   Fax: (312) 494-4440
                                   kaspar.stoffelmayr@bartlitbeck.com
                                   jeff.hall@bartlitbeck.com

                                   Katherine L.I. Hacker
                                   Alex J. Harris
                                   BARTLIT BECK LLP
                                   1801 Wewatta Street, 12th Floor
                                   Denver, CO 80202
                                   Tel: (303) 592-3100
                                   Fax: (303) 592-3140
                                   kat.hacker@bartlitbeck.com
                                   alex.harris@bartlitbeck.com

                                   Counsel for Walgreens Boots Alliance, Inc.,
                                   Walgreen Co., and Walgreen Eastern Co., Inc.




                                     13
Case: 1:17-md-02804-DAP Doc #: 4385 Filed: 04/25/22 14 of 14. PageID #: 577308




                               CERTIFICATE OF SERVICE

       I, the undersigned, hereby certify that the foregoing document was served via email on all

counsel of record on April 25, 2022.

                                            /s/ John M. Majoras
                                            John M. Majoras
                                            JONES DAY
                                            51 Louisiana Avenue, N.W.
                                            Washington, DC 20001
                                            Phone: (202) 879-3939
                                            Fax: (202) 626-1700
                                            E-mail: jmmajoras@jonesday.com

                                            Counsel for Walmart Inc.




                                               14
